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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                       Case No.    ______________________________
                                     1:23-mj-02060 Damian

 UNITED STATES OF AMERICA

 v.

 GARY GRAHAM SEPTOO,

       Defendant.
 ______________________________/

                                  CRIMINAL COVER SHEET

 1. Did this matter originate from a matter pending in the Northern Region of the United States
    Attorney’s Office prior to August 9, 2013 (Mag. Judge Alicia Valle)? Yes        X No

 2. Did this matter originate from a matter pending in the Central Region of the United States
    Attorney’s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?     Yes    X No



                                                    Respectfully submitted,

                                                    MARKENZY LAPOINTE
                                                    UNITED STATES ATTORNEY


                                             By:
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                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
        I, Michelle Brown, do hereby swear and affirm the following facts are true to the best of

 my knowledge, information, and belief:

                                         INTRODUCTION

        1.      I am a Special Agent with Homeland Security Investigations (“HSI”) and have been

  so employed since 2014. I am currently assigned to the Human Smuggling Group in the HSI

  Miami office where I am responsible for conducting investigations regarding violations of federal

  laws, particularly those laws found in Titles 8, 18, 19, and 21 of the United States Code. Prior to

  working for HSI, I was a special agent with the Small Business Administration, Office of

  Inspector General (“SBA-OIG”) and the Internal Revenue Service, Criminal Investigation

  Division (“IRS-CI”). In those positions, I conducted investigations related to financial crimes.

        2.      This Affidavit is submitted in support of a criminal complaint charging Gary

  Graham SEPTOO (SEPTOO) with illegal reentry in violation of Title 8, United States Code,

  Sections 1326(a).

        3.      The statements contained in this Affidavit are based on my personal knowledge, as

  well as information provided to me by other law enforcement officials and witnesses involved in

  this investigation. I have not included in this Affidavit each and every fact known to me. Rather,

  I have included only the facts that are sufficient to establish probable cause for the issuance of a

  criminal complaint against SEPTOO for the above-described criminal violation.

                                        PROBABLE CAUSE

        4.      On January 9, 2023, at approximately 6:24 P.M., the U.S. Customs and Border

  Protection, Office of Air and Marine Operations (CBP AMO), air asset Troy 017, located a vessel

  (hereinafter referred to as the “SUSPECT VESSEL”) travelling westbound towards the United
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  States, approximately 16 nautical miles southwest of North Cat Cay Island, Bahamas. T017

  notified the Miami Marine Unit (MMU) of the SUSPECT VESSEL’s position, course, and speed.

        5.      T017 continued to monitor the SUSPECT VESSEL as it crossed into U.S. territorial

  waters. T017 provided vectors to all the surface units. CBP AMO surface assets, M-812 and M-

  844, arrived on scene. The SUSPECT VESSEL failed to stop when both M-812 and M-844

  energized their lights and sirens. M-812 fired two (2) warning rounds and at approximately 8:26

  P.M. the SUSPECT VESSEL stopped at approximately 8 NM SE of Elliot Key, Florida.

        6.      There were 24 people on board the SUSPECT VESSEL, including SEPTOO, all of

  whom were transferred to the COAST GUARD CUTTER MANOWAR for biometric checks.

  Biometric checks confirmed that SEPTOO had prior immigration-related arrests.

        7.      A search of the SUSPECT VESSEL operator’s cell phone revealed an active GPS

  track line from Bimini, Bahamas to Haulover Inlet, Florida.

        8.      Further records checks revealed that SEPTOO was a national of South Africa and

  did not have authorization to enter or remain in the U.S. lawfully. Immigration documents also

  revealed that SEPTOO had been removed from the U.S. on or about May 18, 2021, and was

  prohibited from entering, attempting to enter, or being in the U.S. for a period of five (5) years.

        9.      SEPTOO does not have the consent of the Attorney General or the Secretary of

  Homeland Security for the United States to apply for readmission to the United States.



                                          CONCLUSION

        10.     Based on my training and experience, and as further supported by the facts set forth

  in this Affidavit, I respectfully submit that probable cause exists to believe that SEPTOO, an

  alien, having previously been removed from the United States on or about May 18, 2021, did re-
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